PROB 128

{NYEP-] 1/25/02) CASO
United States District Court

for the
Eastern District of New York

w

Request for Modifying the Conditions or Term of Supervision

with Consent of the Offender
(Probation Form 49, Waiver of Hearing is Attached)

Name of Offender: David Piller Case Number 98-CR-572
Name of Sentencing Judicial Officer: The Honorable Nina Gershon, U.S. District Judge

Date of Onginal Sentence: December 22, 1999

 

Original Offense: Bank Fraud, in violation of 18 U.S.C. 1344

Original Sentence: 1) Fifteen (15) months imprisonment, 2) five (5) years supervised release, 3) pay
a $100.00 special assessment, 4) make restitution in the amount of $89,902,000.00 at the rate of
$3,000.00 per month, 5) provide full business and personal financial disclosure to the U.S.
Probation Department, and 6) receive mental health treatment.

Type of Supervision: Supervised Release Date Supervision Commenced: February 9, 2001

 

 

PETITIONING THE COURT

U To extend the term of supervision for years, for a total term of years.
X To modify the conditions of supervision as follows:
1. The offender is to make restitution in the amount of $89,902,000.00 at the rate of $4,500.00 per

month.
Request for Modifying the Frob 12B /" Page 2
Conditions or Terms of Supervision
with Consent of the Offender

CAUSE

We write to Your Honor at this time to advise that the Probation Department has completed an updated
investigation into the offender's business finances and have found that the offender 1s capable of
increasing his monthly restitution payments from $3,000.00 to $4,500.00. The Probation Department in
conjunction with the U.S. Attorney's Office has proposed this increase in the monthly restitution amount
to the offender and his defense counsel. The offender has agreed to adhere to the proposed modification
to the conditions of supervised release should the court adopt the same. It should be noted, that
according to records kept with the Financial Litigation Unit of the U.S. Attorney's Office for the Eastern
District of New York, the offender has paid $135,000.00 towards restitution. The outstanding restitution
balance is $115,543,780.22 including interest.

The offender has agrced to waive his right to a hearing and to sign Probation form 49, Waiver of
Hearing, stipulating that he will make restitution in the amount of $89,902,000.00 at the rate of
$4,500.00 per month.

Based upon the above, the Probation Department respectfully requests that Your Honor adopt the
proposed modification to the conditions of supervised release.

Respectfully submitted by,

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Luis A. Caso, CFR
Senior U.S. Probation Officer
Date: November 3, 2004

Approved by,

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George V. Doerrbecker
Deputy Chief U.S. Probation Officer
Date: November 3, 2004

THE COURT ORDERS:

Oi No Action

Cl ss The Extension of Supervision as Noted Above
Ey The Modification of Conditions as Noted Above
O Other

 

 

Signature of J udicial Officer

 

Date
